           Case 2:05-cr-00542-GEB Document 65 Filed 10/19/06 Page 1 of 2


 1   ALEX R. KESSEL (State Bar No. 110715)
     16000 Ventura Blvd.
 2   Penthouse Suite 1208
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4   email: kessellaw@sbcglobal.net
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                           FOR THE CENTRAL DISTRICTOF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                        )   CASE NO.: 2:05-CR-542-GEB
11                                                    )
                            Plaintiff,                )   STIPULATION RE: PERMISSION
12                                                    )   FOR DEFENDANT TO LEAVE
     vs.                                              )   CENTRAL DISTRICT JURISDICTION;
13                                                    )   ORDER THEREON
     NAM PHAMTRAN,                                    )
14                                                    )
                            Defendant.                )
15                                                    )
16
             IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
17
     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
18
             1.     Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
19
     for a business trip in Tokya, Japan, from October 20, 2006, to October 26, 2006, for a period of
20
     seven days;
21
             2.     Defendant Nam Phamtran, upon arriving in Tokyo, Japan shall contact his pretrial
22
     services officer, TODD SAUBER (714) 338-4562 , and advise him of the defendant's location of
23
     residence and telephone number in Toyko, Japan; and
24
             3.     Defendant Nam Phamtran, upon return to his place of residence in the Central
25
     District shall contact his pretrial services officer, TODD SAUBER (714) 338-4562, and advise him
26
     of defendant’s return from Tokyo, Japan.
27
             4.     The clerk of the court of hereby directed to return defendant’s passport for the
28
     purposes of this trip. Defendant is to return the passport to the clerk’s office upon his return from

                                                          1
        Case 2:05-cr-00542-GEB Document 65 Filed 10/19/06 Page 2 of 2


 1   Japan.
 2
 3   DATED: October 17, 2006
 4
 5                                                  /S/ Alex R. Kessel
                                                ALEX R. KESSEL
 6                                              Attorney for Defendant,
                                                NAM PHAMTRAM
 7
 8   DATED: October 17, 2006
 9
10
                                                       /S/ Matthew Stegman
11                                              MATTHEW STEGMAN
                                                Assistant United States Attorney
12                                              for Plaintiff, UNITED STATES OF AMERICA
13
                                        ORDER
14
              IT IS SO ORDERED.
15
16
17   Dated:      October 18, 2006
18
                                        /s/ Garland E. Burrell, Jr.
19                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
20
21
22
23
24
25
26
27
28


                                            2
